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                           UNITED STATES DISTRICT COURT
                                                                                               Aug 04, 2022
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE


UNITED STATES OF AMERICA                                                               PLAINTIFF


vs.                                                         CRIMINAL ACTION NO. 3-22-cr-84
                                                             FILED UNDER SEAL

BRETT HANKISON                                                                      DEFENDANT


                          MOTION TO UNSEAL INDICTMENT

       The United States files this motion asking the Court to immediately unseal the indictment

in United States v. Brett Hankison, Case Number 3:22-cr-84. Defendant Hankison is one of

three current or former Louisville Metro Police Department officers who were indicted yesterday

on charges connected to the preparation and execution of a search warrant that resulted in the

death of Breonna Taylor. The execution of the search warrant and Taylor’s death received

significant media attention and resulted in civil unrest.

       Both defendants in the related case of United States v. Josh Jaynes and Kyle Meany were

taken into custody this morning, and the indictment in their case is now unsealed pursuant to the

Court’s Sealing Order in that case. In addition, federal agents have contacted defendant

Hankison and he has agreed to surrender. Accordingly, there is no longer any law enforcement

need to keep defendant Hankison’s indictment sealed to facilitate his arrest. The presumption

that court proceedings should be open to the public accordingly prevails at this time.

       In addition, there are significant considerations that militate in favor of unsealing

defendant Hankison’s indictment. Unsealing the indictment now ensures that the federal charges

against all defendants involved in the preparation and execution of the search warrant at Breonna
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Taylor’s home can be announced simultaneously to the public. Absent a joint announcement, the

public may mistakenly believe that no charges were brought against defendant Hankison, who

fired into Ms. Taylor’s apartment during the execution of the search warrant.

       Because the indictments of defendants Jaynes and Meany are now unsealed, news of their

indictment will receive significant public attention imminently. We therefore ask the Court to

immediately unseal defendant Hankison’s indictment to allow the United States to inform the

public of all the charges connected to the Breonna Taylor incident.



                                             Respectfully submitted,

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